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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Fort Lauderdale Division
                                     www.flsb.uscourts.gov

In re:                                                         Case No.: 18-13389-BKC-RBR

SUMMIT FINANCIAL CORP.,                                        Chapter 11

      Debtor.
_____________________________________/

                             DEBTOR'S MONTHLY OPERATING REPORT
                                       FOR THE PERIOD

                                         FROM 4/1/2018 TO 4/30/2018

  Comes now the above-named Debtor and files its Monthly Operating Report in accordance with
 the Guidelines established by the United States Trustee and FRBP 2015.



      Dated: July 19, 2018                                               /s/ Zach B. Shelomith______
                                                                         Attorney for the Debtor




 Debtor’s Address and Phone Number:                           Attorney’s Address and Phone Number:

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 Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the
 United States Trustee. Monthly Operating Reports must be filed by the 20th day of the following month.

 For assistance in preparing the Monthly Operating Report, refer to the following resources on the United States
 Trustee Program website, http://www.usdoj.gov/ust/r21/reg_info.htm

 1)      Instructions for Preparation Debtor's Chapter 11 Monthly Operating Report
 2)      Initial Filing Requirements
 3)      Frequently Asked Questions (FAQs)
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